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                                                                                EXHIBIT 3
                    IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  IN RE:                                           §      CASE NO. 25-30155
                                                   §
  ALLIANCE FARM AND RANCH, LLC,                    §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §
  IN RE:                                           §      CASE NO. 25-31937
                                                   §
  ALLIANCE ENERGY PARTNERS, LLC,                   §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §


                            NOTICE OF GENERAL BAR DATE
To Whom it May Concern:
       On January 7, 2025 (the “AFR Petition Date”), the Alliance Farm and Ranch, LLC (the
“AFR Debtor”) commenced its bankruptcy case (the “AFR Case”) under chapter 7 of title 11 of
the Bankruptcy Code. On March 17, 2025, the AFR Debtor filed its Emergency Motion to Convert
Case to Chapter 11 (the “Chapter 11 Conversion Motion”). [DE 13]. On March 19, 2025, the
Court entered its order granting the Chapter 11 Conversion Motion. [DE 24].
      On April 7, 2025 (the “AEP Petition Date”), the Alliance Energy Partners, LLC (the “AEP
Debtor” and together with the AFR Debtor, the “Debtors”) commenced its bankruptcy case (the
“AEP Case” and together with the AFR Case, the “Chapter 11 Cases”).
        On May 7, 2025, the United States Trustee filed its Notice of Chapter 11 Bankruptcy Case
(the “Notice of Bankruptcy Case”) [DE 73]. The Notice of Bankruptcy Case set the meeting of
creditors (the “341 Meeting”) for June 2, 2025, at 2:00 p.m. The 341 Meeting was subsequently
rescheduled for June 16, 2025, at 1:00 p.m. The Notice of Bankruptcy Case established the
deadline for a governmental unit to file a proof of claim as November 3, 2025. The Notice of
Bankruptcy Case did not establish a deadline for filing general proofs of claim.
        On May 22, 2025, the Committee filed its Emergency Motion for Appointment of Chapter
11 Trustee (the “Trustee Motion”) [DE 98]. On May 23, 2025, the Court entered its order granting
the Trustee Motion [DE 112]. On May 27, 20025, the United States Trustee filed its Emergency
Motion to Approve Appointment of Tom A. Howley as Chapter 11 Trustee [DE 115] On May 27,
2025, the Court entered its Order Approving Appointment of Tom A. Howley as Chapter 11 Trustee
(the “Trustee Appointment Order”) [DE 117]. Pursuant to the Trustee Appointment Order, Tom,



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A. Howley is the chapter 11 trustee (the “Trustee”) in the above-numbered and styled Chapter 11
Cases.
        All documents filed in the case may be inspected at the bankruptcy clerk’s office at the
addressed listed below or through PACER (Public Access to Court Electronic Records at
https://pacer.uscourts.gov.
                                    General Claims Bar Date
        On June __, 2025, the Court entered an order (“Order”) setting the proof of claim bar date
for non-government claims on July 25, 2025..(“Claims Bar Date”). A proof of claim is a signed
statement describing a creditor’s claim. A proof of claim form may be obtained at
https://pacer.uscourts.gov, or any bankruptcy clerk’s office. Your claim will be allowed in the
amount scheduled unless: (i) your claim is designated as disputed, contingent, or unliquidated; (ii)
you file a proof of claim in a different amount; or (iii) you receive another notice.
       If your claim is not scheduled or your claim is designated as disputed, contingent, or
unliquidated, you must file a proof of claim or you might not be paid on your claim and you might
be unable to vote on the Plan.
       You may file a proof of claim even if your claim is scheduled. You may review the
schedules at the bankruptcy clerk’s office, online at https://pacer.uscourts.gov.
       Secured creditors retain rights in their collateral regardless of whether they file a proof of
claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with
consequences a lawyer can explain. For example, a secured creditor who files a proof of claim
may surrender important nonmonetary rights, including the right to a jury trial.
       For Governmental Units Only – The deadline for governmental units to file their proofs of
claims is November 3, 2025.

Instructions for Filing Proofs of Claim and Consequences for Failure to Timely File Claim.
Any proof of claim filed after the Claims Bar Date will be disallowed. Any person or entity that is
required by the Order to file a proof of claim and fails to do so by the Claims Bar Date shall not
be treated as a creditor for purposes of voting or receiving distributions in the case, and any claim
of such person or entity will be discharged and forever barred unless otherwise provided under
applicable law. Each creditor and recipient of this Notice and their respective agents and attorneys
have an affirmative duty to review this notice, and timely file any proof of claim on or before the
Claims Bar Date or be forever barred from filing or asserting any such claim unless otherwise
provided by applicable law. Each creditor and recipient of this notice is personally responsible for
reviewing this notice and timely filing any proof of claim and should not rely upon their respective
agents and attorneys to meet the deadlines specified in this notice.

PROOFS OF CLAIM MUST BE FILED SO THAT THEY ARE ACTUALLY RECEIVED
BY THE COURT ON OR BEFORE THE CLAIMS BAR DATE, JULY 25, 2025. PROOFS
OF CLAIM MAY BE FILED BY MAIL, IN PERSON, BY PERSONAL SERVICE OR
FEDERAL EXPRESS ADDRESSED TO:


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                                  Clerk, U.S. Bankruptcy Court
                                          PO BOX 61010
                                       Houston, Texas 77208
        You are encouraged to use the enclosed form of proof of claim. Pursuant to Bankruptcy
Code § 502(b), amounts due shall be stated in lawful currency of the United States as of the Petition
Date. Do not file your proof of claim with, or send copies of proofs of claim to, the Debtor. Pursuant
to the Order, proofs of claim not filed with (i.e., actually received by) the Clerk of the Bankruptcy
Court by the applicable deadline shall be deemed not to be properly or timely filed. To receive an
acknowledgment that your proof of claim has been received by the Clerk of the Bankruptcy Court
and filed, you must provide with your original proof of claim one additional copy and a postage-
paid, self-addressed envelope.
Dated: June [xx], 2025                         Respectfully submitted,

                                               HOWLEY LAW PLLC

                                               /s/ Eric Terry
                                               Eric Terry
                                               State Bar No. 00794729
                                               HOWLEY LAW PLLC
                                               TC Energy Center
                                               700 Louisiana Street Suite 4545
                                               Houston, Texas 77002
                                               Phone: 713-333-9125
                                               Email: tom@howley-law.com
                                               Email: eric@howley-law.com

                                               Proposed Trustee Counsel




                                 CERTIFICATE OF SERVICE

        I certify that on June [xx], 2025, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas and via first-class mail to all parties on the attached service lists.

                                                /s/ Eric Terry
                                               Eric Terry




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